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                                             ORDERED.


            Dated: May 20, 2019




                          IN THE UNITED STATES BANKRUPTCY COURT
                       MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
In Re:

OSVALDO SANTA MARIA                                        Case No. 9:18-bk-01169-FMD
YUNIA SANTA MARIA

                     Debtors.
                                                   /

                     ORDER SUSTAINING TRUSTEE'S OBJECTION TO CLAIM
                NO. 5-1 FILED BY DEUTSCHE BANK NATIONAL TRUST COMPANY

        THIS CAUSE came on for hearing on May 16, 2019, upon an Objection to Claim filed by the Trustee.
The Court, having considered the Objection, together with the record, finds that the Claimant, Deutsche Bank
National Trust Company, filed Proof of Claim No. 5-1, and further finds that the Claimant failed to attach
sufficient documentation to determine the basis for or the appropriate amount of the claim or whether the claim
is barred by the statute of limitations or includes post-petition charges. Accordingly, it is,

        ORDERED that the Trustee’s Objection to Claim No. 5-1, is sustained and the claim is disallowed,
without prejudice to the Claimant filing an amended proof of claim with appropriate documentation within 30
days from the date of this Order.

Trustee, Robert E. Tardif Jr., is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and to file a proof of service within 3 days of entry of the Order.
